                      Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 1 of 9(Note:
                                                                                      PageID #:8436
                                                                                             Changes with Asterisks (*))
ILND 245C (Rev. 04/29/2019) Amended Judgment in a Criminal      Case                                                              Identif,
Sheet I

                                                                                                                                                                 *
                                    LTNITED STATES DISTRICT COURT
                                                                 Northem District of Illinois

 LINITED STATES OF AMERICA                                                           AMENDED JUDGMENT IN A CRIMINAL CASE
               v.
 SAMUEL NICHOLS                                                                      CaseNumber: l:15-CR-00756(1)
                                                                                     USM   Number:        29003-076
 Date of Original Judgment: 6/2612019                                                James A. Graham, Heather Winslow
 (Or Date of Last Amended Judgment)                                                  Defendant's Attorney
 Reason for Amendment:
 n     Correction of Sentence on Remand (lS U.S.C. 3742(f)(1) and (2))               E   Modification of Supervision Conditions (18 U.S.C. $$ 3563(c) or
                                                                                         3583(e))
 n     Reduction of Sentence for Changed Circumstances (Fed' R. Crim.
       P. 3s(b))                                                                     E   Modification of Imposed Term of Imprisonment for Extraordinary
                                                                                         and Compelling Reasons (18 U.S.C. $ 3582(cXl))
 E Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))
 I Conection of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                  E   Modification of Imposed Term of Imprisonment for Retroactive
                                                                                         Amendment(s) to the Sentencing Guidelines           (I   8 U.S.C.   $
                                                                                         3s82(c)(2))
                                                                                     D   Direct Motion to District Court Pursuant     E      Zg U.S.C. $ ZZSS

                                                                                         or   fl   l8 u.s.c.   $ 3559(cX7)
                                                                                     I   Modification of Restitution Order   (I   8 U.S.C. $ 3664)

THE DEFENDANT:
   E      pleaded guilty to count(s)
   !      pleaded nolo contendere to   count(s)             which was accepted by the court.
   EI was found guilty on count(s)       I s,   2s, 3s, 4s, 6s and 8s of the Superseding Indictment after a plea of not guilty'

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                              OffenseEnded                        Count
 l8:1594.F Forfeiture                                                                                             l2l3ll20l4                           Is

          .F Sex Trafficking Of Children
 I 8: I 591                                Or    By   Force, Fraud   Or   Coercion                                l2l3ll20l4l2l3ll20l4                2s
 l8: l59l.F Sex Trafficking Of Children    Or    By   Force, Fraud   Or   Coercion                                1213112014                          3s
 l8:1591.F Sex Trafficking Of Children     Or    By   Force, Fraud   Or   Coercion                                12131/2014                          4s4s
 I 8:l59l.F Sex Trafficking Of Children    Or    By   Force, Fraud   Or   Coercion                                12/31/2014                          6s


The defendant is sentenced as provided in pages I through I 0 ofthis judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this iudsment" the iudgment previouslv entered shall stand. (See
attachments)
*8     The defendant has been found not guilty on count(s) 7s ofthe Superseding Indictment.
  I       Count(s) remaining are dismissed on the motion of the United States'

                                                                    States attorney for this district within 30 days of any change of name,
              It is ordered that the defendant must notiff the United
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material clnges in economic circu

                                                                                              Julv 2./2019




                                                                                                          of
                                                                                                        M. Kendall , United States District Judge
                                                                                                      and Title of Judge
                   Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 2 of 9 PageID #:8436
ILND 245C (Rev. 04/29/2019) Amended Judgment in   a   Criminal   Case                                       (Note: Identify Changes with Asterisks (*))
                                                                                                                                          -   Pase 2   of9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: I :15-CR-007s6(l)
                                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term      of: : Life
imprisonment as to count I s; count 2s; count 3s; count 4s; count 6s; and count 8s to run concurrent.

  tr     The court makes the following recommendations to the Bureau of Prisons: that the defendant be incarcerated at FCI Terra Haute.

  A      The defendant is remanded to the custody of the United States Marshal.

  tr     The defendant shall surrender to the United States Marshal for this district:

            traton
       D      as   notified by the United States Marshal.

       f]     The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

            tr      before 2:00 pm on

            tr      as   notified by the United States Marshal.

            tr      as   notified by the Probation or Pretrial Services Office.




                                                                          RETURII

I have executed this judgrnent as follows:




Defendant delivered      on                to                                 at                                with a certified copy of this
judgment.




                                                                                        T]NITED STATES MARSHAL


                                                                                   By
                                                                                        DEPUTY TINITED STATES MARSHAL
                        Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 3 of 9 PageID #:8436
ILND 245C (Rev 04l29l20l9) Amended Judgment in a Criminal     Case                                                (Note   Identi!   Changes with Asterisks (*))
Sheet 5 - Criminal                                                                                                                      Judement - Pase 3 of 9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: I : 15-CR-00756(t)

         MANDATORY CONDITIONS OF SUPER\TSED RELEASE PURSUANT TO                                                       18 U.S.C S 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of: Five (5) years as to count 1s; count 2s; count 3s; count 4s;
count 6s; and count 8s to run conculrent.

             you must report to the probation office in the district to which you   are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
 E      (I   )   you shall not commit another Federal, State, or local crime.
 E      (2)      you shall not unlawfully possess a controlled substance.
 tr     (3) you shall attend a public, private, or private nonprofit offender rehabilitation progmm that has been approved by the court,              if
                 an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                 domestic violence crime, as defined in S 356I(b).I
 A      (4) you shall register and comply with all requirements of the       Sex Offender Registration and Notification Act (42 U.S.C.          S
                 I 6913).
 E      (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law'
 A      (6) you phall refrain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
            supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                  each year of supervised release. [This mandatory condition may be ame]iorated or suspended by the court for any defendant
                 if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

 DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C $ 3s63(b) AND
                                                                     18 U.S.C S 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term ofsupervised release because such
                             -
conditions are reasonably related to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D): such conditions involve only such
deprivations of liberry or properfy as are reasonably necessary for the purposes indicated in $ 3553 (a)(2) (B). (O. and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
 E (l)            you shall provide financial support to any dependents ifyou are financially able to do so.
 tr Q)            you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                  $   3663A(cXlXA))
 tr     (3)        you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: ,:rri|;1111r
 A      (4)       you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                  conscientiously a course of study or vocational training that will equip you for employment.
 tr     (5)       you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship
                  to the conduct constituting the offense, or engage in the following specified occupation, bus_iness, or profession only to a
                  stated degree or under stated circumstances; (if checked yes, please indicate restriction(s)) tj;,::;j;:ti*.
 B      (6)       you shall not knowingly meet or communicate with any person whom you know to be engaged, or plaruring
                  to be engaged, in criminal activity and shal*l.gJ-:
                      tr visit the following type of place t,"tr:effirfj,$i*i,ffi.ffi
                         thb-benefit pf patrbni:
                      tr kili;tit meet or communicate with the follorving pep"rfi#-",fi-Ef.;-D;q,frjr$d
        ril/rieiii;#iiy.*i;e:;aF,{ti*atiiaa;a ,fffi,B*jfiFi   #lifl#W{.ffi *8flj#ffiqftirtlifiilr{dFtte*,ifi
 tr     (7)      you shall refrain from E any or EI excessive use of alcohol (defined as E having a blood alcohol concentration
                 greater than 0.08; or E        ), and from any use ofa narcotic drug or other controlled substance, as defined in $ 102
                 of the Controlled Substances Act (21 U.S.C. $ 802), without a prescription by a licensed medical practitioner.
 E      (8)      you shall not possess a firearm, destructive device, or other dangerous weapon.
 a      (9)        A you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                         include urine testing up to a maximum of 104 tests per year.
                   A you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                        any medications prescribed by the mental health treatment provider
                   tr you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifo;
                       Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 4 of 9 PageID #:8436
ILND 245C (Rev.04/29/2019) Amended Judgment in a Criminal Case                                                       (Note:   ldenti!   Changes with Asterisks   (*))
Sheet 5 - Criminal                                                                                                                                   - Paee 4    of9

DEFENDANT: SAMUEL NICHOLS
CASE NUMBER: 1:15-CR-00756(1)
                                i   ii;1')
                         'l:r
 tr (10)            (intermittent confinement):-y.ou shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                    intervals of time, totaling ;l;;:ff tno more than the lesser of one year or the term of imprisonment authorized for the
                    offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in
                    S3563(bXl0) shall be imposed only for a violation of a condition ofpupervised release in accordance with $ 3583(eX2)
                    and only when facilities are available) for the following period:ii;;;rliitt.
 tr     (l   l)     (community confinement): you shall reside at, or participate in the program of a community corrections facility
                    (including a facility ma_r.1tgi1,r3d or under contract to the Bureau of Prisons) for all or part of the term of supervised
                    release, for a period o1,;#::;7i months.
 tr 02)             you shall work in community service tor ,jiffi!_ou11s as directed by a probation officer.
                                                                                                                                          'l
 tr ( I 3)         you shall reside in the following place or area,;i;i,#, or reAain from residing in a specified place or area'., .
 tr (14)           you shall refrain from knowingly leaving the federal judicial district where you are being supervised, unless
                   granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                   Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                   Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
 A (15)            you shall repoft to a probation officer as directed by the court or a probation officer.
 tr (16) A                 you shall permit a probation officer to visit you E at any reasonable time   or E   as   specified:            ,

                            I  at home               D at work                   E at school                 E  ata community service location
                            E  other reasonable location specified by a probation officer
                      A you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 tr     07)        you shall notify a probation officer withinT2 hours, after becoming aware of any change in residence, employer, or
                  workplace and, absent constitutional or other legal privilege, answer inquiries by a probation offtcer. You shall answer
                  truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 E      (I   8)    you shall notifi a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
                  enforcement officer.
 tr     (19)      (home confinement)
                   tr (a)(i) (home incarceration) for a period of _ months, you are resfficted to your residence at all times except for
                        medical necessities and court appearances or other activities specifically approved by the coutt.
                   tr (a)(ii) (home detention) for a period of _ months, you are restricted to your residence at all times except for
                        employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                        court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                   tr (aXiii) (curfew) for a period of _ months, you are restricted to your residence every day.
                  trfrom the times directed by the probation officer; or D from         to
                  n @)  your  compliance  with  this condition, as well as other   -       -. conditions of supervision, shall be monitored
                                                                                 court-imposed
                    by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                    by all technology requirements.
             tr (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
                    able to do so.
 tr    (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
             District of Columbia, or any other possession or territory of the United States, requiring payments by you for the suppoft
             and maintenance of a child or of a child and the parent with whom the child is living.
 tr    Ql)  (deportation):   you shall be surrendered to a duly authorized official of the Homeland Security Deparlment for a
             determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
             and Nationality Act and the established implementing regulations. If ordered depofted, you shall not remain in or enter the
             United States without obtaining, in advance, the express written consent of the United States Attomey General or the
             United States Secretary of the Department of Homeland Security.
 tr    Q2) you shall satisfy such other special conditions as ordered below.
 tr    (23) You shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)(l)),
            other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
            Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
            occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
           pursuant to this condition only when reasonable suspicion exists that you have violated a condition ofyour supervision and
           that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
                  reasonable manner.
tr Q4)              Other:
                    Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 5 of 9 PageID #:8436
                                       a Criminal Case
ILND 245C (Rev. 04/2912019) Amended Judgment in                                      (Note: Identifu Changes with Asterisks (*))
                        Penalties
Sheet 5 - Criminal Monetarv                                                                              Judgment - Page 5 of 9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: I : 15-CR-00756(1)



SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The courl imposes those conditions identified by checkmarks below:

During the term of supervised release:
 tr itl       if you have not obtained a high schooldiploma or equivalent, you shall participate in         a GeneralEducational
                   Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 A Q)              you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                   days of placement on supervision.
 tr    (3)         you shail, if unemployed after the frst 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                   from employment, perform at least           hours of community service per week at the direction of the probation office
                   until gainfully employed.  The  total amount of community service required over your term of service shall not exceed
                          hours.
 tr    @)          you shall not maintain employment where you have access to other individual's personal information, including, but not
                   limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 E (5)             you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
                   unless you are in compliance with the financial obligations imposed by this judgment.
 E (6)             you shall provide a probation officer with access to any requested financial information requested by the probation
                   officer to monitor compliance with conditions of supervised release.
 A Q)              within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
                   restitution, fines, or special assessments, you must notify the probation officer of the change.
 tr (8)            you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 A (9)             you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                   probation officer. You shall comply with all recommended treatment which may include psychological and
                    physiological testing. You shall maintain use of all prescribed medications.
               E         You shall comply with the requirements of the Computer and Internet Monitoring Progtam           as   administered by the
                        United States Probation Office. You shall consent to the installation of computer monitoring software on all
                        identified computers to which you have access and to which the probation officer has legitimate access by right or
                        consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                        keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
                        will be placed on the computer at the time of installation to warn others of the existence of the monitoring
                        software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
               tr       The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                        to satisfaction of other financial obligations imposed by this judgment.
               tr       You shall not possess or use at any location (including your place of employment), any computer, external storage
                        device, or any device with access to the Internet or any online computer service without the prior approval of a
                        probation officer. This includes any Intemet service provider, bulletin board system, or any other public or private
                        network or email system
               tr       You shall not possess any device that could be used for covert photography without the prior approval ofa
                        probation officer.
               E        You shall not view or possess child pomography. If the treatment provider determines that exposure to other
                        sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                        to assist the freatment process, such proposed conditions shall be promptly presented to the coutt, for a
                        determination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modifu the
                        conditions of supervision to include conditions consistent with the recommendations of the freatment provider.
               A        You shall not, without the approval of   a   probation officer and treatment provider, engage in activities that will put
                         you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                         Iocations where persons under the age of 18 (excluding defendants' children) regularly congregate, including
      parks, schools, school bus stops,
                      playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal commercial
                      business or unintentional incidental contact
               !        This condition does not apply to your family     members:          [Names]
                    Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 6 of 9 PageID #:8436
                                            Case
ILND 245C (Rev. O4l}9l20l9) Amended Judgment in a Criminal                           (Note: Identiry Changes with Asterisks (*))
Sheet 5 - Criminal Monetary Penalties                                                                   Judgment - Page 6 of 9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: 1:15-CR-00756(1)
                       B     Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
                             approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
                             approval ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to
                             the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
                             activity that may cause you to come into direct contact with children except under circumstances approved in
                             advance by a probation officer and treatment provider.
                       A     You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                             any other financial information requested.
                       A     You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                            impose restrictions beyond those set forth in this order.
 A     (I      0)      you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                       commencement of the term of supervised release, at a rate of not less than l\oh of the total of your gross earnings minus
                       federal and state income tax withholdings.
 A     (   I   I   )   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                       prior permission of the court.
 tr    02)             you shall pay to the Clerk of the Court Sfffii:,i1 as repayment to the United States of gove-rnme-lt.funqi.you received
                                                                                                                                           . t
                       ggrng,ttre investigation of this offens.. (Th; btert of ine Court shall remit the funds to i'.,:l;,.,0i$lorh,Aiie
                       Address.)             :                                a ir j, ,. :,.. ::, "L
 tr (I3)               ,t64: uo-u-se#e,saii $e-dff;:,H11ff,,ffi^Wffiffi#,
                                                                          ,
                                                                                                  e.iif,
                                                                                                      ,.   :,,   i:
                                                                                                                      :mg'rcur.
 tr (14)        Other: if the probation officer determines that you pose a risk to another person (including an organization or
       members of the community), the probation officer may require you to tell the person about the risk, and you must comply
       with that instruction. Such notification could include advising the person about your record of arrests and convictions and
       substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
                      Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 7 of 9 PageID #:8436
ILND 245C (Rev. 04129/2019) Amended Judgment in a Criminal Case                                                     (Note: Identify Changes with Asterisl6 (*))
Sheet 5 - Crinrinal Monetary Penalties

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: 1 : 15-CR-00756(1)
                                               CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                  Assessment       .fVTA Assessment*                            Fine                     Restitution
                                                                                    $.00                        s.00                 *sl.649.343.12
    TOTALS                                            s600.00



     tr        The determination of restitution is defened until          An Amended Judgment in a Criminal Case (eo usc) will be entered after
               such determination.

     A         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the prioriry order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(D, all nonfederal victims must be paid
    before the United States is paid.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

A.W.
$71,600.00

B.M.
$176,220.00

C.C.
$95,929.71

C.H.
$   107,600.00

C.N.
$284,000.00

J.B.
$255,200.00

K.F.
$57,200.00

K.P.
+*$ 122,000.00

M.J.
$   150,800.00

M.C.
$221,193.41

Y.F.
$107,600.00


          tr        Restitution amount ordered pursuant to plea agreement $

          tr        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                    the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(0. All of the payment options on Sheet 6 may be
                    subject to penalties for dglinquency and default, pursuant to 18 U.S.C. $ 3612(9).
                 Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 8 of 9 PageID #:8436
                                                     Crinrinal                                                      (Note: Identiry Changes with Asterisks (*))
ILND 245C (Rev.0412912019) Amended Judgment in   a               Case
Sheet 5 - Criminal Monetarv Penalties                                                                                                             -   Pase 8   of9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: 1:15-CR-00756(l)
       X       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                  tr   the interest requirement is waived for the restitution amount'

                  tr   the interest requirement for the                 is modified as follows:


*Justice for Victims of Trafficking Act of 2015, Pub. L. No. I I4-22.
* Findings for the total amount of losses are required under Chapters 109A, 110,             ll0A, and 113A of Title 18 for offbnses    committed on or
after September 13,1994, but before April23, 1996.
                     Case: 1:15-cr-00756 Document #: 374 Filed: 07/02/19 Page 9 of 9 PageID #:8436
                                                                                                                               (Note: Identify Changes with Asterisks (*))
ILND 245C (Rev. 04/2912019) Amended Judgment in a Criminal     Case
       7 - Denial ofFederal Benefits                                                                                                                 J         -   Pase 9   of9

DEFENDANT: SAMUELNICHOLS
CASE NUMBER: 1 :15-CR-00756(l)
                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


            E    Lump sum payment of $600.00 due immediately.

                    !       balance due not laterthan , or
                    tr      balance due in accordance with I C, E D, n                    E,   or E F below; or

BE               Payment to begin immediately (may be combined               with ! C, E D, or I               F below); or


CN               Payment in     equal          (e.g. weekly, monthly, quarterly) installments of        $      over   a   period of          (e.g., months or years), to

                 commence              (e.g., 30 or 60 days) after the date of this judgment; or


            E    Payment in    equal          (e.g. weekly, monthly, quarterly) installments of         $      over a period of              (e.   g., months or years), to
                 commence              (e.g., 30 or 60 days) after release   from imprisonment to   a   term of supervision; or

            E    Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from imprisonment.
                 The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

            El Special insffuctions regarding the payment of criminal monetary penalties:
           you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
           commencement of the term of supervised release , at a rate of not less than l\Yo of the total of your gross eamings minus federal
           and state income tax withholdings.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. AII criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   I    Joint and Several

Case Number                                          Total Amount                   Joint and Several              Corresponding Payee,              if
Defendant and Co-Defendant Names                                                    Amount                         Appropriate
(including defendant number)

l5 CR 756-l Samuel Nichols                           $1,649,343.12                  sl,649,343.12

l5 CR 756-2 Charles Fears                            $1,649,343.12                  Sentence not imposed

l6 CR 597-l Brandon Wright                           $1,649,343.12                  Sentence not imposed

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendont number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

   !    the defendant shall pay the cost ofprosecution.

  E     ttre defendant shall pay the following court cost(s):

  E     me defendant shall forfeit the defendant's interest in the following properfy to the United              States:


Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and cout costs
